
Finch, J.
—The only question presented by this appeal is whether the Young Men’s Christian Association, located in the city of New York, is liable to taxation upon the portion of its property in that city known as the Bowery Institute. No special act secures such exemption. By the terms of its original charter, the corporation was shielded from taxation up to the limit of $100,000 (Laws of 1866, chap. 350), but later the provision was amended so as to exempt all the real estate of the association situated on the southwest corner of Twenty-third street and Fourth avenue, so long as it should be exclusively used for the authorized purposes. Laws of 1870, chap. 248. The question, therefore, is to be determined by the provisions of the Bevised Statutes, as modified by the consolidation act of 1882, in their application to the city.
The general law, as amended in 1883, exempts “every building erected for the use of a college, incorporated academy or other seminary of learning, and in actual use for either of such purposes, every building for public worship, every school-house, court-house and jail used for either of such purposes, and the several lots whereon such buildings so used are situated, and the furniture belonging to each of them.” The consolidation act (sec. 827) makes these provisions inapplicable to any such building for public worship, and any such school-house or other seminary of learning in the city of New- York, “unless the same shall be exclusively used for such purposes and exclusively the property of a religious society.”
It is not impossible to characterize the association as a religious society. Its objects, as described in its charter, are “the improvement of the spiritual, mental and social condition of young men in the city of New York.” The means to be employed are “ sermons, libraries, reading-rooms, social meetings” and other necessary incidents, among which are lectures, concerts and entertainments, bath-room and gymnasium and instruction in penmanship, arithmatic, book-keeping and drawing. The building contains above the basement, in which are the gymnasium, bowling alley and bath-room, twenty-two rooms, one only of which is devoted to purposes of public worship, and that not exclusively, since it is also used as a lecture hall. It is, perhaps, just to say that the general and primary purpose of the association is to train up Christian men; to gather in the youth within its reach from temptation and ignorance and *954the surroundings of intemperance and crime, and cultivate their minds and hearts with a view to the belief and practice of a religious life.
The promoters of the association undoubtedly saw that some means must be used to draw the young men away from their associates and surroundings and bring them within its influence, and to accomplish this, amusement was blended with instruction and both made subservient to the ultimate end of bringing the membership under distinctively Christian influence. The purpose is excellent and the means adopted commendable; and if the statute allowed us to stop merely with a determination that the corporation is a religious society, we should deem that a reasonable conclusion.
But the statute requires more. It provides that the building must be exclusively used for purposes of public worship or exclusively used for those of a seminary of learning.
I do not understand that either the courts below which adjudged the exemption claimed, or the learned counsel who argued the case at our bar in behalf of the respondent, deemed the corporation a “ seminary of learning,” within the meaning of the statute. That phrase includes academies and describes institutions of learning for either sex of a similar character. They are subject to. the visitation of the regents, are required to report to them, and are permitted to share in the income of the literature fund. 2 R. S. (7th ed,), 1116, §§ 23, 24, 29.
The Young Men’s Christian Association was not incorporated as a seminary of learning and does not answer that description. Unless, therefore, it can be truthfully $nd correctly said that its building is exclusively used for purposes of public worship, it can have no exemption from taxation upon its Bowery Institute. There is no ambiguity in the phrase, “ public worship.” It refers to the usual church services upon the Sabbath, open freely to the public and in which any one may join. Association for Colored Orphans v. Mayor, 104 N. Y., 581; 6 N. Y. State Rep., 477.
There are such services held in the building of the association, but in comparison with the other uses to which that, building is put they, are the least of all, not perhaps in their importance, but in the time which they occupy and the proportion of the building which they require. At all events, it cannot be properly said, upon the facts disclosed, that the building is used exclusively for purposes of public worship. Associations of this character are so useful and so deserving of encouragement and support, that a different result, would please us better, but we are unable to reach it under the law as it stands.
The judgment of the general and special terms should be reversed and a new trial granted, costs to abide the event.
All concur.
